         Case 1:15-cr-00045-LJO-BAM Document 125 Filed 05/12/16 Page 1 of 3


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6    United States of America
7

8                        IN THE UNITED STATES DISTRICT COURT

9                           EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) NO. 1:15-CR-00045 LJO-BAM
                                            )
12             Plaintiff,                   )
                                            ) APPLICATION AND ORDER REGARDING
13        v.                                ) FINANICAL DISCLOSURES
                                            )
14   MARTIN BAHRAMI,                        )
                                            )
15             Defendant.                   )
                                            )
16                                          )
                                            )
17

18       On November 16, 2015, the Defendant herein, MARTIN BAHRAMI,
19   entered guilty pleas to Counts Eight and Nine of the Superseding
20   Indictment, which charges him with Making False Statements to a Bank,
21   in violation of 18 U.S.C. § 1014.
22       As part of his Plea Agreement with the United States, the
23   Defendant agreed to make full and complete disclosure of his assets
24   and financial condition, including among other things certain assets
25   if any that have been transferred to third parties, and to complete
26   the United States Attorney’s Office’s “Authorization to Release
27   Information” and “Financial Statement Pre-Sentencing Disclosure”
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29                                            -1-
                 APPLICATION AND [PROPSED] ORDER REGARDING FINANCIAL DISCLOSURES
30
         Case 1:15-cr-00045-LJO-BAM Document 125 Filed 05/12/16 Page 2 of 3


1    (Financial Affidavit) within forty-five (45) days from the entry of

2    Defendant’s change of plea (see Doc. no. 90, ¶3(l)).                Thus,

3    Defendant’s time to comply with his obligations under paragraph 3(l)

4    of the Plea Agreement was January 1, 2016.

5        Accordingly, the United States hereby applies for entry of an

6    order as follows:

7        1. The Defendant herein, MARTIN BAHRAMI, is ordered to complete

8    and sign both the “Financial Statement Pre-Sentencing Disclosure” and

9    the “Authorization to Release Information,” and provide those forms

10   to the United States Attorney’s Office, Attention FLU Unit, 2500

11   Tulare Street, Suite 4401, Fresno, California 93721, and also comply

12   with the other obligations set forth in paragraph 3(l) of the Plea

13   Agreement, no later than seven (7) days after entry of this Order.

14
     Dated:   May 10, 2016                             PHILLIP A. TALBERT
15                                                     Acting United States Attorney
16
                                                         /s/ Christopher D. Baker
17                                                     HENRY Z. CARBAJAL III
                                                       CHRISTOPHER D. BAKER
18                                                     PATRICK R. DELAHUNTY
                                                       Assistant U.S. Attorneys
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                 APPLICATION AND [PROPSED] ORDER REGARDING FINANCIAL DISCLOSURES
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         Case 1:15-cr-00045-LJO-BAM Document 125 Filed 05/12/16 Page 3 of 3


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5                        IN THE UNITED STATES DISTRICT COURT

6                          EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,               ) NO. 1:15-CR-00045 LJO-BAM
                                             )
9               Plaintiff,                   )
                                             ) ORDER REGARDING FINANCIAL
10        v.                                 ) DISCLOSURES
                                             )
11   MARTIN BAHRAMI,                         )
                                             )
12              Defendant.                   )
                                             )
13                                           )
                                             )
14

15        The Defendant herein, MARTIN BAHRAMI, is ordered to complete and
16   sign both the “Financial Statement Pre-Sentencing Disclosure” and the
17   “Authorization to Release Information,” and provide those forms to
18   the United States Attorney’s Office, Attention FLU Unit, 2500 Tulare
19   Street, Suite 4401, Fresno, California 93721, and also comply with
20   the other obligations set forth in paragraph 3(l) of the Plea
21   Agreement, no later than seven (7) days after entry of this Order.
22   IT IS SO ORDERED.
23
       Dated:   May 12, 2016                      /s/ Lawrence J. O’Neill _____
24                                        UNITED STATES CHIEF DISTRICT JUDGE
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                               ORDER REGARDING FINANCIAL DISCLOSURES
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